Case 4:94-cv-02307-CW Document 3156-13 Filed 11/17/20 Page 1 of 7
Case 4:94-cv-02307-CW Document 3156-13 Filed 11/17/20 Page 2 of 7
Case 4:94-cv-02307-CW Document 3156-13 Filed 11/17/20 Page 3 of 7
Case 4:94-cv-02307-CW Document 3156-13 Filed 11/17/20 Page 4 of 7
                          Case 4:94-cv-02307-CW Document 3156-13 Filed 11/17/20 Page 5 of 7

CDCR                                                                   INCIDENT REPORT PACKAGE                                             PAGE:    28
REPORT NO.                                                                                                                            PROCESSED: 10/02/2020 12:42
                                                           INCIDENT LOG NUMBER:                                                       REQUESTOR: E. Laird

                                                                              STAFF NARRATIVE

                               STAFF NAME: L               , Dustin                                              NARRATIVE TYPE: Initial Report
                           CREATED DATE: 08/27/2020                                                                  CREATED TIME: 13:41:05

                                                                                NARRATIVE

  On Thursday, August 27, 2020, at approximately 0824 hours, while conducting my duties as Facility 'A' HCA A-5 ESCORT EOP #3, I was standing behind the
  podium in Building 5 in front of cells              when Officer R. Cook called inmate                to the podium and informed                                     he was
  removed from 'A' Building 5 porter position and he needed to return to his assigned cell. Inmate                        stood up and yelled, "Fuck you bitch, quit harassing
  me."           started to walk towards the podium while pointing his finger and saying, "You a bitch Cook, fuck you and you're clan members. You guys are all
  pieces of white shit." Officer R. Cook, Officer S. Medina, and I stood up as                   approached the podium. Officer Cook gave                 a direct order to stop and
  submit to mechanical restraint (handcuffs).               did not comply.             stopped approaching the podium and stated, "Fuck you bitch ass cops," and walked
  over to the phones located on 'C' side dayroom in front of cells 149-150. I gave                    a direct order to stop and submit to mechanical restraint handcuffs
          stated, "Fuck you white bitch." Officer R. Cook, Officer S. Medina, and I continued to stand behind the podium while inmate                            slammed the phone
  against the wall.           began to walk towards us pointing his finger saying, "Fuck you bitch ass cops. You mother fuckers aint shit just because there is three of
  you." Officer R. Cook, S. Medina, and I walked over to 'C' side dayroom tables where                       was jumping up and down screaming, "Come get me bitches." As
  we approached               Officer S. Medina gave             a direct order to submit to handcuffs.               did not comply. Officer S. Medina using his right hand
  retrieved his state issued handcuffs and gave a verbal order to submit to handcuffs. Officer S. Medina attempted to reach for                          left wrist to place handcuffs
  on           Simultaneously,            pulled away and sat on the ground. Officer S. Medina gave another verbal order to                       to submit to handcuffs while
  simultaneously reaching for             left wrist to effect custody.            pulled away from Officer S. Medina's grasp and got in a prone position facing the podium
  and tucked his hands under his stomach while stating, "Fuck you bitches."                     began to thrash his lower body side to side while kicking his feet. I placed my
  left hand on           left ankle and my right hand on               right ankle and I applied downward pressure using my body weight and physical strength to keep
          from kicking his legs side to side. Officer S. Medina continued to give                  multiple verbal orders to submit to handcuffs.               did not comply.
  Officer S. Medina used physical strength to force                right hand behind his back and secure it in handcuffs. Officer R. Cook used physical strength to force
          left hand behind his back and secure it in handcuffs. Due to maintaining focus of                     ankles and feet, I did not see the hand placement or how Officer
  Medina or Officer Cook used force. Officer S. Medina sat                  in an upright position and             stated, "Fuck you bitches, you guys are all bitch ass faggots."
  Officer R. Cook using physical strength utilizing his left hand and right hand forced                   in a prone position on his stomach while simultaneously placing leg
  irons on           Officers E. Brazil and C. Winkler assisted               to his feet and escorted            out of building 5 to Facility 'A' Clinic for a 7219 medical
  assessment to be conducted. During the escort to Facility 'A' Clinic,                 lifted up his legs and stated, "I can't walk, fuck this." Officer E. Brazil and C. Winkler
  placed           on his stomach in front of Facility 'A' EOP center. Officer F. Orr retrieved a wheel chair from Facility 'A' Clinic and Officer's E. Brazil and C. Winkler
  assisted          to his feet and placed him in the wheel chair. Officer F. Orr escorted                  to Facility 'A' Clinic where a Medical 7219 evaluation was conducted
  by LVN F. Baguinon. Officer F. Orr escorted                in a wheelchair to Facility 'A' Program. This concludes my involvement.

   D. Laughlin                                                                                                          DATE: 08/27/2020
  STAFF SIGNATURE

                                                                                                                      PERNR: 99480
                                             BADGE #: 87409

                          NARRATIVE REVIEWED: Yes                                                   REVIEWED BY STAFF: C               , David
                                   REVIEWED DATE: 08/27/2020                                             REVIEWED TIME: 13:44:17
                        Case 4:94-cv-02307-CW Document 3156-13 Filed 11/17/20 Page 6 of 7

CDCR                                                              INCIDENT REPORT PACKAGE                                         PAGE:    29
REPORT NO.                                                                                                                   PROCESSED: 10/02/2020 12:42
                                                        INCIDENT LOG NUMBER:                                                 REQUESTOR: E. Laird

                                                                         STAFF NARRATIVE

                             STAFF NAME: Laughlin, D                                                      NARRATIVE TYPE: Supplemental Report
                          CREATED DATE: 08/31/2020                                                           CREATED TIME: 08:26:25

                                                                           NARRATIVE

  Q1. In your report you stated, "Officer R. Cook using physical strength utilizing his left hand and right hand forced         in a prone position on his stomach
  while simultaneously placing leg irons on           Please clarify if you observed Officer Cook force inmate         into a prone position.
  A1. No, Officer Cook was retrieving leg restraints.
  Q2. In your report you stated, "Officer S. Medina continued to give           multiple verbal orders to submit to handcuffs.         did not comply. Officer S.
  Medina used physical strength to force          right hand behind his back and secure it in handcuffs. Officer R. Cook used physical strength to force          left
  hand behind his back and secure it in handcuffs." At what point did inmate            comply with orders and stop resisting?
  A2. Once inmate          was secured in handcuffs, he stopped resisting.

   D. Laughlin                                                                                                   DATE: 08/31/2020
  STAFF SIGNATURE

                                                                                                               PERNR: 99480
                                          BADGE #: 87409

                         NARRATIVE REVIEWED: Yes                                              REVIEWED BY STAFF: Mctaggart, K
                                 REVIEWED DATE: 08/31/2020                                         REVIEWED TIME: 08:28:05



                             STAFF NAME: Laughlin, D                                                      NARRATIVE TYPE: Supplemental Report
                          CREATED DATE: 08/31/2020                                                           CREATED TIME: 08:51:18

                                                                           NARRATIVE

  Q1. Was inmate              resistive when Officer Cook attempted to secure him in leg restraints? If so, how did inmate           resist and did Officer Cook utilize
  force to secure inmate             in leg restraints?
  A1. Yes,          was resistive when Officer Cook attempted to secure him in leg restraints.            resisted by kicking his legs. Officer Cook used physical force
  by grabbing            left ankle with both hands and applying the leg restraint, then grabbing           right ankle with both hands and applying the other side of
  the leg restraints. After           was secured in leg restraints he stopped resisting.

   D. Laughlin                                                                                                   DATE: 08/31/2020
  STAFF SIGNATURE

                                                                                                               PERNR: 99480
                                          BADGE #: 87409

                         NARRATIVE REVIEWED: Yes                                              REVIEWED BY STAFF: Mctaggart, K
                                 REVIEWED DATE: 08/31/2020                                         REVIEWED TIME: 08:53:16
                          Case 4:94-cv-02307-CW Document 3156-13 Filed 11/17/20 Page 7 of 7

CDCR                                                                INCIDENT REPORT PACKAGE                                         PAGE:    30
REPORT NO.                                                                                                                     PROCESSED: 10/02/2020 12:42
                                                         INCIDENT LOG NUMBER: 000000000011569                                  REQUESTOR: E. Laird

                                                                           STAFF NARRATIVE

                              STAFF NAME: Laughlin, D                                                       NARRATIVE TYPE: Supplemental Report
                           CREATED DATE: 09/03/2020                                                            CREATED TIME: 08:25:58

                                                                             NARRATIVE

  Q1. In your clarification you identify it was not Officer Cook utilizing physical strength with his left and right hands forcing         into a prone position. Who was
  the officer you observed doing this?

  A1. Officer E. Brazil

  Q2. Why was             being placed into a prone position?

  A2. As       was in the seated position on the floor, he was resisting by moving his legs side to side. As Officer Cook was retrieving the leg restraints, Officer
  Brazil moved       from the seated position to the prone position in order for leg restraints to be applied and minimize         ability to resist.

  Q3. Why was there a need to place             in leg restraints in the first place?

  A3. After        was secured in handcuffs and placed in the seated position,              resisted again by kicking his legs. Leg restraints were necessary to prevent
          from continuing to kick his legs and possibly kicking staff.

   D. Laughlin                                                                                                     DATE: 09/03/2020
  STAFF SIGNATURE

                                                                                                                 PERNR: 99480
                                           BADGE #: 87409

                          NARRATIVE REVIEWED: Yes                                              REVIEWED BY STAFF: Hobbs, E
                                  REVIEWED DATE: 09/03/2020                                         REVIEWED TIME: 08:35:24



                              STAFF NAME: Beckham, I                                                        NARRATIVE TYPE: Initial Report
                           CREATED DATE: 08/27/2020                                                            CREATED TIME: 12:43:27

                                                                             NARRATIVE

  On Thursday, August 27, 2020, at approximately 0824 hours, while performing my duties as A Facility Building 5 Floor #2, Inmate                      (G-38404, A5-230L)
  was informed of his removal from Facility A Building 5 porter position.             began to walk around the day room in a loud and aggressive manner yelling "you
  all are just after me, this is harassment."          left the area and walked over to the phones located on the C-section of the building. Due to the phones not
  being on at the time,            hung up the phone and aggressively started yelling at Officer Cook. I ordered             to return to his cell, to which he replied "Fuck
  that, I ain't locking it up." Officers Cook, Laughlin, Medina and Ngyuen, approached               I turned to Control Booth Officer S. Wong and said "close the day
  room, everybody goes home". Behind me I could hear                  attempting to incite other inmates by yelling "I can't breathe." I heard the audible alarm sounding
  in the building and I ordered all inmates to "Get Down." Knowing four officers where located behind me handling the situation with                    I focused my
  attention on the other inmates located within the vicinity, I feared the behavior            exhibiting had the potential incite violent behavior from the surrounding
  inmates. My attention was on ensuring the safety of the officers involved, therefore I did not observe any force utilized or the rest of the incident. After
  was escorted out of the building I resumed my duties as A5 Floor Officer #2.

   I. Beckham                                                                                                      DATE: 08/27/2020
  STAFF SIGNATURE

                                                                                                                 PERNR: 61656
                                           BADGE #: 75834

                          NARRATIVE REVIEWED: Yes                                              REVIEWED BY STAFF: Clays, D
                                  REVIEWED DATE: 08/27/2020                                         REVIEWED TIME: 13:44:03
